         21-12075-dsj            Doc 122      Filed 02/17/22 Entered 02/17/22 19:30:28                        Main Document
                                                           Pg 1 of 30


                                       UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF NEW YORK



In Re. JPA No. 111 Co., Ltd.                                        §                   Case No. 21-12075
                                                                    §
                                                                    §                   Lead Case No. 21-12075
                      Debtor(s)                                     §
                                                                                             Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 01/31/2022                                                        Petition Date: 12/17/2021

Months Pending: 2                                                                         Industry Classification:    4   8   1   1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Kyle J. Ortiz                                                            Kyle J. Ortiz
Signature of Responsible Party                                               Printed Name of Responsible Party
02/17/2022
Date
                                                                             One Penn Plaza, Suite 3335, New York, NY 10119
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021) - Mac                                  1
         21-12075-dsj              Doc 122      Filed 02/17/22 Entered 02/17/22 19:30:28               Main Document
                                                             Pg 2 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                                               Case No. 21-12075


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $153,379
b.   Total receipts (net of transfers between accounts)                                              $0                  $0
c.   Total disbursements (net of transfers between accounts)                                       $126                 $126
d.   Cash balance end of month (a+b-c)                                                       $153,253
e.   Disbursements made by third party for the benefit of the estate                                 $0                  $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       $126                 $126
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                            $8,152,147
b.   Accounts receivable over 90 days outstanding (net of allowance)                       $3,936,817
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                  $8,555,526
e.   Total assets                                                                        $126,840,426
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                            $103,757,464
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                              $1,093,264
n.   Total liabilities (debt) (j+k+l+m)                                                  $104,850,728
o.   Ending equity/net worth (e-n)                                                        $21,989,698

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                  $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                  $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                  $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                   $0


UST Form 11-MOR (12/01/2021) - Mac                                     2
        21-12075-dsj            Doc 122          Filed 02/17/22 Entered 02/17/22 19:30:28                          Main Document
                                                              Pg 3 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                                                           Case No. 21-12075

Part 5: Professional Fees and Expenses

                                                                                   Approved       Approved       Paid Current       Paid
                                                                                 Current Month   Cumulative         Month         Cumulative
a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
        Itemized Breakdown by Firm
                 Firm Name                         Role
        i        Togut, Segal & Segal LLP          Lead Counsel                             $0            $0                $0             $0
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UST Form 11-MOR (12/01/2021) - Mac                                           3
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                   Pg 4 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075


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UST Form 11-MOR (12/01/2021) - Mac                  4
        21-12075-dsj            Doc 122          Filed 02/17/22 Entered 02/17/22 19:30:28                         Main Document
                                                              Pg 5 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                                                          Case No. 21-12075


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        ci

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

        Itemized Breakdown by Firm
                 Firm Name                        Role
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        xiv


UST Form 11-MOR (12/01/2021) - Mac                                        5
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                   Pg 6 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075


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UST Form 11-MOR (12/01/2021) - Mac                  6
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                   Pg 7 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075


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UST Form 11-MOR (12/01/2021) - Mac                  7
         21-12075-dsj           Doc 122          Filed 02/17/22 Entered 02/17/22 19:30:28            Main Document
                                                              Pg 8 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                                           Case No. 21-12075


         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021) - Mac                                    8
            21-12075-dsj           Doc 122         Filed 02/17/22 Entered 02/17/22 19:30:28                          Main Document
                                                                Pg 9 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                                                           Case No. 21-12075

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Teiji Ishikawa                                                              Teiji Ishikawa
Signature of Responsible Party                                                  Printed Name of Responsible Party

Representative Director                                                         02/17/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021) - Mac                                          9
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                  Pg 10 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075




                                                  PageOnePartOne




                                                  PageOnePartTwo




                                                  PageTwoPartOne




                                                  PageTwoPartTwo




UST Form 11-MOR (12/01/2021) - Mac                    10
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                  Pg 11 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075




                                                    Bankruptcy1to50




                                                   Bankruptcy51to100




                                                  NonBankruptcy1to50




                                                 NonBankruptcy51to100




UST Form 11-MOR (12/01/2021) - Mac                      11
        21-12075-dsj        Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                                  Pg 12 of 30
Debtor's Name JPA No. 111 Co., Ltd.                                        Case No. 21-12075




                                                   PageThree




                                                    PageFour




UST Form 11-MOR (12/01/2021) - Mac                   12
          21-12075-dsj                 Doc 122               Filed 02/17/22 Entered 02/17/22 19:30:28                                                    Main Document
                                                                         Pg 13 of 30
In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                                     Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                            Reporting Period: January 1, 2022 to January 31, 2022


                                                             STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

     (in USD)
                                                                                                                      BANK ACCOUNTS
     ACCOUNT NUMBER (LAST 4)                           CA-CIB (Paris) (5547)    SMBC (Akasaka) (8418)   SMBC (Akasaka) (8059)   SMBC (Akasaka) (8128)   Signature Bank (3209)     CURRENT MONTH ACTUAL
                                                         Savings Account         USD Fund Account          JPY Account            JPY Fund Account                                    (TOTAL OF ALL
                                                                                                                                                                                        ACCOUNTS)

     CASH BEGINNING OF MONTH                                             0.01            112,672.66                 2,882.91              37,823.11                      0.00                  153,378.69
     RECEIPTS
     LEASE AND RENTAL INCOME                                                                                                                                                                             0.00
     ACCOUNTS RECEIVABLE - PREPETITION
                                                                                                                                                                                                         0.00
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                                                                                                                                                                    0.00
     LOANS AND ADVANCES                                                                                                                                                                              0.00
     SALE OF ASSETS                                                                                                                                                                                  0.00
     OTHER (ATTACH LIST)                                                                                                                                                                             0.00
     TRANSFERS (FROM DIP ACCTS)                                                                                                                                  153,252.65                    153,252.65
     TOTAL RECEIPTS                                                      0.00                    0.00                    0.00                    0.00            153,252.65                    153,252.65
     DISBURSEMENTS
     NET PAYROLL                                                                                                                                                                                     0.00
     PAYROLL TAXES                                                                                                                                                                                   0.00
     MANAGEMENT FEES                                                                                                                                                                                 0.00
     SECURED/ RENTAL/ LEASES                                                                                                                                                                         0.00
     INSURANCE                                                                                                                                                                                       0.00
     DEBT SERVICE                                                                                                                                                                                    0.00
     ADMINISTRATIVE                                                                                                                                                                                  0.00
     SELLING                                                                                                                                                                                         0.00
     TRANSFERS (TO DIP ACCTS)                                                           (112,672.66)               (2,882.91)            (37,823.11)                                          (153,378.68)
     PROFESSIONAL FEES                                                                                                                                                                               0.00
     U.S. TRUSTEE QUARTERLY FEES                                                                                                                                                                     0.00
     COURT COSTS                                                                                                                                                                                     0.00
     TOTAL DISBURSEMENTS                                                 0.00           (112,672.66)               (2,882.91)            (37,823.11)                     0.00                 (153,378.68)

     NET CASH FLOW                                                       0.00           (112,672.66)               (2,882.91)            (37,823.11)             153,252.65                         (126.03)
     (RECEIPTS LESS DISBURSEMENTS)
                                                                         0.00
     CASH – END OF MONTH                                                 0.01                    0.00                    0.00                    0.00            153,252.65                    153,252.66
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


     THE FOLLOWING SECTION MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS                                                                 153,378.68
     LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION
     ACCOUNTS                                                                           (153,378.68)
     PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE
     SOURCES (i.e. from escrow accounts)                                                         0.00
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                                      0.00




                                                                                                                                                                        FORM 1-Cash Receipts Disbursements
                                                                                                                                                                                                    2/2008
                                                                                                                                                                                             PAGE 1 OF 9
             21-12075-dsj                                  Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28                                                           Main Document
                                                                                 Pg 14 of 30

In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                              Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                     Reporting Period: January 1, 2022 to January 31, 2022


                                                                                      BALANCE SHEET

     (in USD)
                                        ASSETS                       BOOK VALUE AT END OF     BOOK VALUE AT END OF     BOOK VALUE ON PETITION
                                                                      CURRENT REPORTING         PRIOR REPORTING                DATE
                                                                            MONTH                    MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                          153,252.66               153,378.69                  153,378.69
     Restricted Cash and Cash Equivalents (see continuation sheet)

     Accounts Receivable (Net)                                                8,152,147.42             8,152,147.42                8,152,147.42
     Inventories
     Prepaid Expenses
     Professional Retainers                                                     250,000.00               250,000.00                  250,000.00
     Other Current Assets (attach schedule)
     TOTAL CURRENT ASSETS                                                     8,555,400.08             8,555,526.11                8,555,526.11
     PROPERTY & EQUIPMENT

     Real Property and Improvements                                                                                                                Note: Capital assets are listed according to book
     Machinery and Equipment                                                150,568,427.00           150,568,427.00              150,568,427.00 value on this schedule pursuant to UST
                                                                                                                                                 instructions for UST Form 11-MOR. However,
     Furniture, Fixtures and Office Equipment
                                                                                                                                                 the Debtor's machinery and equipment are valued
     Leasehold Improvements                                                                                                                      according to market value on the UST Form 11-
     Vehicles                                                                                                                                    MOR itself, using the ASCEND full-life market
     Less: Accumulated Depreciation                                         (71,935,571.68)          (71,935,571.68)             (71,935,571.68) valuation consistent with the Debtor's Schedule
     TOTAL PROPERTY & EQUIPMENT                                              78,632,855.32            78,632,855.32               78,632,855.32 of Assets and Liabilities
     OTHER ASSETS

     Amounts due from Insiders*
     Other Assets (attach schedule)                                               4,799.98                 4,799.98                    4,799.98 Note: consumption tax refund
     TOTAL OTHER ASSETS                                                           4,799.98                 4,799.98                    4,799.98
     TOTAL ASSETS                                                            87,193,055.38            87,193,181.41               87,193,181.41
                        LIABILITIES AND OWNER EQUITY                 BOOK VALUE AT END OF     BOOK VALUE AT END OF     BOOK VALUE ON PETITION
                                                                      CURRENT REPORTING         PRIOR REPORTING                DATE
                                                                            MONTH                    MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable
     Taxes Payable (refer to FORM MOR-4)
     Wages Payable
     Notes Payable
     Rent / Leases - Building/Equipment
     Secured Debt / Adequate Protection Payments
     Professional Fees
     Amounts Due to Insiders*
     Other Post-petition Liabilities (attach schedule)
     TOTAL POST-PETITION LIABILITIES                                                  0.00                     0.00                        0.00
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)

     Secured Debt                                                           103,757,464.05           103,757,464.05              103,757,464.05
     Priority Debt
     Unsecured Debt                                                           1,093,263.88             1,093,263.88                1,093,263.88
     TOTAL PRE-PETITION LIABILITIES                                         104,850,727.93           104,850,727.93              104,850,727.93
     TOTAL LIABILITIES                                                      104,850,727.93           104,850,727.93              104,850,727.93
     OWNERS' EQUITY
     Capital Stock                                                                2,634.35                 2,634.35                    2,634.35
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition                                       (17,660,306.90)          (17,660,180.88)             (17,660,180.88)
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY                                                     (17,657,672.55)          (17,657,546.52)             (17,657,546.52)
     TOTAL LIABILITIES AND OWNERS' EQUITY                                    87,193,055.38            87,193,181.41               87,193,181.41
     *"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                                       FORM 2-Balance Sheet
                                                                                                                                                                                                                     2/2008
                                                                                                                                                                                                              PAGE 2 OF 9
            21-12075-dsj                    Doc 122             Filed 02/17/22 Entered 02/17/22 19:30:28                                  Main Document
                                                                            Pg 15 of 30

In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                         Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                Reporting Period: January 1, 2022 to January 31, 2022




                                   ASSETS                       BOOK VALUE AT END OF    BOOK VALUE AT END OF     BOOK VALUE ON PETITION
                                                                 CURRENT REPORTING        PRIOR REPORTING                DATE
                                                                       MONTH                   MONTH

     Other Current Assets
     Consumption tax refund                                                  4,799.98                 4,799.98                4,799.98




     Other Assets
     State tax refunds FY2020
     Loans to former employees - per Schedules and Statements


                    LIABILITIES AND OWNER EQUITY                BOOK VALUE AT END OF    BOOK VALUE AT END OF     BOOK VALUE ON PETITION
                                                                 CURRENT REPORTING        PRIOR REPORTING                DATE
                                                                       MONTH                   MONTH

     Other Post-petition Liabilities




     Adjustments to Owner’s Equity



     Post-Petition Contributions




                                                                                                                                                   FORM 2-Balance Sheet
                                                                                                                                                                 2/2008
                                                                                                                                                          PAGE 3 OF 9
   21-12075-dsj             Doc 122           Filed 02/17/22 Entered 02/17/22 19:30:28                      Main Document
                                                          Pg 16 of 30


In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                        Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                               Reporting Period: January 1, 2022 to January 31, 2022


                                           STATEMENT OF OPERATIONS (Income Statement)

     (in USD)
                                                                       MONTH             CUMULATIVE -         PRIOR MONTH
                                                                                        FILING TO DATE        CUMULATIVES
     REVENUES
     Gross Revenues
     Less: Returns and Allowances
     Net Sales                                                                  0.00                 0.00                     0.00
     COST OF GOODS SOLD
     Beginning Inventory
     Add: Purchases
     Add: Cost of Labor
     Add: Other Costs (attach schedule)
     Less: Ending Inventory
     Cost of Goods Sold                                                         0.00                 0.00                     0.00
     Gross Profit                                                               0.00                 0.00                     0.00
     OPERATING EXPENSES
     Advertising
     Auto and Truck Expense
     Bad Debts
     Contributions
     Employee Benefits Programs
     Officer/Insider Compensation*
     Insurance
     Management Fees/Bonuses
     Office Expense
     Pension & Profit-Sharing Plans
     Repairs and Maintenance
     Rent and Lease Expense
     Salaries/Commissions/Fees
     Supplies
     Taxes - Payroll
     Taxes - Real Estate
     Taxes - Other
     Travel and Entertainment
     Utilities
     Other (attach schedule)
     Total Operating Expenses Before Depreciation                               0.00                 0.00                     0.00
     Depreciation/Depletion/Amortization
     Net Profit (Loss) Before Other Income & Expenses                           0.00                 0.00                     0.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)
     Interest Expense
     Other Expense (attach schedule)
     Net Profit (Loss) Before Reorganization Items                              0.00                 0.00                     0.00




                                                                                                                    FORM 3-Statement of Operations
                                                                                                                                            2/2008
                                                                                                                                     PAGE 4 OF 9
   21-12075-dsj                      Doc 122               Filed 02/17/22 Entered 02/17/22 19:30:28                          Main Document
                                                                       Pg 17 of 30


In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                                        Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                               Reporting Period: January 1, 2022 to January 31, 2022

     REORGANIZATION ITEMS
     Professional Fees
     U. S. Trustee Quarterly Fees
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     Gain (Loss) from Sale of Equipment
     Other Reorganization Expenses (attach schedule)                                         (126.03)             (126.03)
     Total Reorganization Expenses                                                           (126.03)             (126.03)                    0.00
     Income Taxes
     Net Profit (Loss)                                                                       (126.03)             (126.03)                    0.00
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS




     OTHER OPERATIONAL EXPENSES




     OTHER INCOME



     OTHER EXPENSES



     OTHER REORGANIZATION EXPENSES
     Foreign exchange losses and bank remittance charge on fund transfers to the
     Signature Bank account                                                                  (126.03)             (126.03)




                                                                                                                                    FORM 3-Statement of Operations
                                                                                                                                                            2/2008
                                                                                                                                                     PAGE 5 OF 9
   21-12075-dsj            Doc 122         Filed 02/17/22 Entered 02/17/22 19:30:28                        Main Document
                                                       Pg 18 of 30


In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                            Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                   Reporting Period: January 1, 2022 to January 31, 2022


                                  ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

     (in USD)
                             Accounts Receivable Reconciliation                                 Amount
     Total   Accounts Receivable at the beginning of the reporting period                        8,152,147.42
     Plus:   Amounts billed during the period                                                            0.00
     Less:   Amounts collected during the period                                                         0.00
     Total   Accounts Receivable at the end of the reporting period                              8,152,147.42



     Accounts Receivable Aging                                              Amount
     0-30 Days                                                                      0.00
     31-60 Days                                                             1,405,110.00
     61-90 Days                                                             1,405,110.00
     91+ Days                                                               5,341,927.42
     Total                                                                  8,152,147.42



                                           TAXES RECONCILIATION AND AGING

     Taxes Payable                                                          Amount
     0-30 Days
     31-60 Days
     61-90 Days
     91+ Days
     Total                                                                           0.00




                                                                                                                    FORM 4-Accounts Receivable
                                                                                                                                        2/2008
                                                                                                                                 PAGE 6 OF 9
        21-12075-dsj             Doc 122            Filed 02/17/22 Entered 02/17/22 19:30:28                                         Main Document
                                                                Pg 19 of 30

In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                                 Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                        Reporting Period: January 1, 2022 to January 31, 2022


                                                       STATUS OF POST-PETITION TAXES

     (in USD)
                                      Beginning Tax         Amount Withheld     Amount Paid         Date Paid          Check # or EFT       Ending Tax
                                                             and/or Accrued


     FICA-Employee
     FICA-Employer
     Unemployment
     Income
     Other:_____________
       Total Federal Taxes                           0.00                0.00               0.00                0.00                 0.00                 0.00
     State and Local
     Withholding
     Sales
     Excise
     Unemployment
     Real Property
     Personal Property
     Other:_____________
       Total State and Local                         0.00                0.00               0.00                0.00                 0.00                 0.00


     Total Taxes                                     0.00                0.00               0.00                0.00                 0.00                 0.00


                                               SUMMARY OF UNPAID POST-PETITION DEBTS


                                                                                    Number of Days Past Due
                                          Current                0-30              31-60               61-90              Over 91              Total
     Accounts Payable
     Wages Payable
     Taxes Payable
     Rent/Leases-Building
     Rent/Leases-Equipment
     Secured Debt/Adequate
     Professional Fees
     Amounts Due to Insiders
     Other:______________
     Other:______________
     Total Post-petition Debts                      0.00                0.00               0.00                0.00                 0.00                0.00

     Explain how and when the Debtor intends to pay any past due post-petition debts.




                                                                                                                                               FORM 5-Post-petition liabilities
                                                                                                                                                                        2/2008
                                                                                                                                                               PAGE 7 OF 9
   21-12075-dsj            Doc 122         Filed 02/17/22 Entered 02/17/22 19:30:28                           Main Document
                                                       Pg 20 of 30


In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                                  Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                         Reporting Period: January 1, 2022 to January 31, 2022



                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

     (in USD)
                                                        INSIDERS
                  Name             TYPE OF PAYMENT        AMOUNT PAID       TOTAL PAID TO DATE TOTAL PAID TO DATE -
                                                                                                  PRIOR PERIOD




                         TOTAL PAYMENTS TO INSIDERS                     -                     -                     -




                                                              PROFESSIONALS
                  NAME             DATE OF COURT        AMOUNT APPROVED        AMOUNT PAID        TOTAL PAID TO DATE    TOTAL INCURRED &
                                 ORDER AUTHORIZING                                                                          UNPAID*
                                     PAYMENT

     Togut Firm                  N/A                   N/A                                    -                     -                              -




                   TOTAL PAYMENTS TO PROFESSIONALS                                        -                     -                              -
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED




            POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                     AND ADEQUATE PROTECTION PAYMENTS

          NAME OF CREDITOR           SCHEDULED         AMOUNT PAID DURING TOTAL UNPAID POST-
                                  MONTHLY PAYMENT           MONTH             PETITION
                                        DUE




                                     TOTAL PAYMENTS




                                                                                                                        FORM 6-Insiders and Professionals
                                                                                                                                                       2/2008
                                                                                                                                           PAGE 8 OF 9
   21-12075-dsj              Doc 122           Filed 02/17/22 Entered 02/17/22 19:30:28                      Main Document
                                                           Pg 21 of 30

In re JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.                              Case No. 21-12075 (DSJ)
       Debtor: JPA No. 111 Co., Ltd.                                     Reporting Period: January 1, 2022 to January 31, 2022


                                                       ASSETS SOLD OR TRANSFERRED


     Date of the sale or transfer:                            N/A
     Description of the asset sold or transferred:            N/A
     Gross sales price:                                       N/A
     Payments made from the sale proceeds to or
     by third parties, if any:                                N/A
     Net sale proceeds received on behalf of the
     estate:                                                  N/A
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 22 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 23 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 24 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 25 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 26 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 27 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 28 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 29 of 30
21-12075-dsj   Doc 122   Filed 02/17/22 Entered 02/17/22 19:30:28   Main Document
                                     Pg 30 of 30
